Case 2:22-cv-11850-MFL-EAS ECF No. 1-13, PagelD.386 Filed 08/10/22 Page 1 of 13

Exhibit L
Case 2:22-cv-11850-MFL-EAS ECF No. 1-13, PagelD.387 Filed 08/10/22 Page 2 of 13

Prepared Statement of
The Federal Trade Commission on

"Fraud Against Seniors"
Before the

Special Committee on Aging
United States Senate
Indianapolis, Indiana

August 10, 2000

Tam Rolando Berrelez, Assistant Regional Director of the Midwest Region of the
Federal Trade Commission. I am pleased to appear before you today to present
information about the Commission's activities with regard to fraudulent marketing
practices, especially those that affect the elderly“ The Federal Trade Commission is the
primary federal consumer protection agency, with wide-ranging responsibilities over
nearly all segments of the economy. In pursuing its mandate of protecting consumers, the
Commission enforces the Federal Trade Commission Act, which broadly prohibits
unfair or deceptive acts and practices, and also enforces more than twenty-five other
consumer protection statutes and thirty regulations“ that address such matters as
consumer credit, telemarketing, and the sale of funeral goods and services. Combating
fraud has been a top priority in fulfilling that mandate for over a decade. In particular, the
Commission has committed significant resources to the war against telemarketing fraud -
- a type of fraud that frequently victimizes the elderly.

Fraudulent marketing schemes change over time, but they share one thing in common:
they all involve the use of deceptive or unfair practices to separate consumers from their
money. Many fraudulent operations use the telephone as the primary means of
communicating with their victims. Estimates of losses specifically caused by fraudulent
telemarketers range from at least $3 billion to as much as $40 billion annually. The
Commission's law enforcement experience shows that telemarketing fraud victimizes
consumers of all ages, levels of income, and backgrounds. The elderly, however,
constitute a disproportionate number of telemarketing victims, and in some scams, 80
percent or more of the victims are 65 or older. The elderly often are the deliberate targets
of fraudulent telemarketers who take advantage of the fact that many older people have
cash reserves or other assets to spend on seemingly attractive offers.

Some older Americans seem especially susceptible to fraudulent offers for prize
promotions and lottery clubs, charitable solicitations, and investment offers.

Sections 5 and 13(b) of the Federal Trade Commission Act“ provide the Commission
with several important tools to combat various types of marketing fraud. These
provisions authorize the Commission to file civil actions by its own attorneys in federal
Case 2:22-cv-11850-MFL-EAS ECF No. 1-13, PagelD.388 Filed 08/10/22 Page 3 of 13

district court and to seek an immediate halt to illegal activity. The Commission also
secks to obtain restitution for injured consumers, if possible; if not, the Commission
seeks disgorgement of defendants' ill-gotten monies to the U.S. Treasury. Where
appropriate, the Commission seeks an ex parte temporary restraining order, asset freeze
and the appointment of a receiver to halt ongoing fraudulent activities and preserve asscts
for consumer redress. This extraordinary relief results in the immediate cessation of
fraudulent telemarketing or other fraudulent schemes. Every year the Commission
pursues such law enforcement activities to prevent hundreds of millions of dollars in
fraud losses, and in the past three years, has collected over $61 million on judgments for
consumer redress or disgorgement to the Treasury.

In 1994, Congress passed the Telemarketing and Consumer Fraud and Abuse Prevention
Act (the "Telemarketing Act"), giving the Commission additional authority specifically
to attack telemarketing fraud. At Congress’ direction, the Commission promulgated the
Telemarketing Sales Rule, which became effective on December 31, 1995. The Rule
defines and prohibits deceptive telemarketing practices and prohibits other abusive
telemarketing practices. One very important feature of the Telemarketing Act is that it
permits a joint federal-state telemarketing enforcement strategy by enabling state
Attorneys General to go into federal court to enforce the Telemarketing Sales Rule, to
halt fraudulent schemes through nationwide injunctions against companies or individuals
that violate the Rule, and to obtain restitution for injury caused to the residents of their
states by the Rule violations. This grant of authority to the states has provided the
Commission with an enormous opportunity to coordinate and leverage federal law
enforcement resources with the states for maximum effect.

The Commission, working with its counterparts on the state level and its sister federal
agencies, has developed a strategy of law enforcement "sweeps," in which multiple,
simultaneous actions are filed all across the country against companies and individuals
engaged in a particular type of fraud. Concentrating federal and state resources on a
particular type of fraud to bring dozens of law enforcement actions at one time not only
sends an emphatic warning to others engaged in the same fraud, it also provides a
springboard to raise dramatically consumer awareness of that particular type of fraud.
Since 1995, the Commission has ied 56 cooperative law enforcement efforts focused
upon the most prevalent types of fraud, including fraud that targets older consumers.
These sweeps comprised a total of over 1,549 federal and state actions, including 365
cases brought by the Commission. I will describe some of these sweeps more
specifically, as I discuss common varieties of marketing fraud.

Deceptive Prize Promotions and Lottery Clubs

One type of telemarketing fraud in which the victims are disproportionately elderly is the
deceptive prize promotion. Typically, the consumer receives a call enthusiastically
congratulating him or her on having been selected to receive a valuable award -- often
described as thousands in cash, a car, a vacation, or jewelry. However, there is a "catch"
that requires the consumer to send payment, often by an overnight courier service, in
order to receive the prize, Then, although the consumer sends the payment as instructed,
Case 2:22-cv-11850-MFL-EAS ECF No. 1-13, PagelD.389 Filed 08/10/22 Page 4 of 13

he or she does not receive the promised valuable prize. If the consumer receives any
award at all, it is generally an item of little or no value, such as inexpensive costume
jewelry or a travel certificate that requires huge outlays of cash to redeem. Losses per
consumer for telemarketed prize promotions generally range from a few hundred dollars
to thousands of dollars. In some instances, consumers have lost their entire life savings to
such scams. Although prize promotion telemarketers often ask for only a small amount
initially, in a process referred to as "reloading," phone crooks request ever increasing
amounts from consumers, promising ever more valuable awards. Once marked as
receptive to this type of scam, a consumer often is bombarded with similar fraudulent
offers from a host of scam artists. Prize and sweepstakes promotions remains one of the
top five categories of complaints reported in the FTC's Consumer Sentinel - a multi-
agency law enforcement investigative cyber tool ™ Accordingly, fraudulent prize
promotions have been a frequent target of Commission enforcement efforts. Since 1996,
the Commission has led sweeps against prize promotions operators that have resulted in
80 enforcement actions against 119 defendants in 26 states

Prize promotions are not conducted exclusively through the telephone. In many cases,
direct mail is used to capture the attention of the consumer, The Commission has taken
action against several direct mail prize promoters, and joined other agencies in "Project
Mailbox,” begun in October 1997. Project Mailbox includes all types of fraudulent direct
mail solicitations, but many of the actions targeted prize promotions. Project Mailbox
involves the combined efforts of the FTC, the U.S. Postal Service, the Securities and
Exchange Commission, and 25 state Attorneys General and local law enforcers, and, thus
far, has resulted in a total of approximately 500 law enforcement actions.

Telefunders or Bogus Charities

Another type of telemarketing fraud, sometimes referred to as fraudulent "telefunding,"
targets consumers, often older citizens, willing to donate money to charitable causes.“
Fraudulent telefunders, often employing prize promotions, either raise money for bogus
charities, misrepresent the amount of donations that go to a bona-fide charity, or make
other material misrepresentations about how the donor's money will be used. The
Commission has brought several actions attacking alleged telefunding fraud and, again,
has coordinated with other agencies to lead sweeps in this area. To date, the effort has
resulted in ten FTC cases and 86 state enforcement actions. At the Commission's press
conference announcing the Operation Missed Giving sweep in November 1998, AARP
released the results of a national survey on charitable giving habits of Americans,
distributed a new educational video about telephone fundraising fraud, and operated a
“reverse boiler-room," - a spin-off of the phone centers used by fraudulent telemarketers
- manned by volunteer callers warning consumers that they may be targeted by deceptive
charitable fundraisers and providing them with information on how to protect themselves
from scams.

Business Opportunity Fraud

Many consumers -- particularly recent retirees or workers who have lost their jobs
Case 2:22-cv-11850-MFL-EAS ECF No. 1-13, PagelD.390 Filed 08/10/22 Page 5 of 13

through corporate downsizing -- are attracted to advertisements touting opportunities for
individuals to operate their own small businesses or to work from home. In many cases,
these business opportunities involve distributing products or services through vending
machines or retail display racks. Calls from would-be entrepreneurs responding to these
advertisements are connected to a telemarketer, who glowingly describes the opportunity
and the amount of money that can be made by following the company's business plan. To
clinch the sale, the telemarketer often provides the consumer with the names and
telephone numbers of other people who have purportedly purchased the business
opportunity and from whom the consumer can receive a supposedly objective opinion. In
fact, these purported purchasers are "singers" -- individuals who are paid by the
telemarketer to lie about the success of the business venture. After the consumer pays
anywhere from hundreds to tens of thousand of dollars to become a distributor or to
receive the business plan, he or she learns that the revenue projections of the telemarketer
were highly inflated and that the only people who make money through the business
opportunity are the telemarketers themselves.

Every year, the Commission brings numerous cases against purveyors of fraudulent
business opportunities. In fact, the Commission's first major coordinated law
enforcement initiative against fraud, "Project Telesweep," targeted such operations,
Project Telesweep, launched in July 1995, used the combined efforts of the FTC, the
U.S. Department of Justice, and several states to bring nearly 100 actions against alleged
fraudulent business opportunities. The project was so successful that it served as a
template for future telemarketing sweeps. Most recently, the Commission led "Project
Bizillions", which was announced in January 2000. That sweep included 36 Commission
cases and 33 state and local law enforcement cases. 1

Recovery Scams

"Recovery" scams once plagued older consumers, but this type of scam now appears
almost to have vanished, due to aggressive enforcement efforts and ti ghter regulations.“
Recovery scams were particularly egregious because they re-victimized consumers who
had already fallen prey to one or more earlier scams. In a recovery scam pitch, the fraud
operator offered to help the consumer obtain prizes promised in an earlier scam or to
recover money lost in an earlier scam. After paying the fee for the recovery, the
consumer never again heard from the recovery scammer - no refund, no prize, just the
loss of more money. In some cases, the recovery scam operation was run by the very
same individuals who previously defrauded the consumer. Losses per consumer
victimized by recovery rooms ranged from a few hundred dollars to thousands of dollars.

Since the fall of 1994, the Commission has brought eight cases against recovery scam
artists.» These enforcement actions, combined with provisions in the Telemarketing
Sales Rule tailored specifically to prevent this type of fraud, have led to a dramatic drop
in the number of consumer complaints. The Commission's consumer complaint database
shows that complaints about recovery scams plunged by 95 percent from their high point
in 1995 to their current low level.
Case 2:22-cv-11850-MFL-EAS ECF No. 1-13, PagelD.391 Filed 08/10/22 Page 6 of 13

Credit Card Loss Protection

In yet another telemarketing scam, fraud artists try to get people to buy worthless credit
card loss protection and insurance programs. The telemarketers, who prey on elderly and
young adults, scare consumers with false stories, telling them that they are liable for
more than $50 in unauthorized charges on their credit card accounts; that they need credit
card loss protection because computer hackers can access their credit card numbers
through the Internet and charge thousands of dollars to your account, and that the
telemarketer are from "the security department" and want to activate the protection
feature on their credit card. This type of fraud affects senior citizens in particular. The
National Consumer's League reported that a recent study of telemarketing fraud showed
that 71 percent of the credit card loss protection plan complaints received by the National
Fraud Information Center were made by consumers age 50 and older To address this
problem, the Commission, since September 1999, has led sweeps resulting in four
Commission cases and seven state cases against this type of fraudulent operation,
including a criminal action by Florida law enforcement authorities.

The Internet

To date, most of the fraud affecting the elderly has been perpetrated through the
telephone. As the elderly begin to use the Internet, fraud operators can be expected to
find them through this new channel of communication and commerce. The Internet offers
a novel and exciting means for all consumers to purchase both innovative and traditional
goods and services faster and at lower prices, to communicate more effectively, and to
tap into rich sources of information that were previously difficult to access and that now
can be used to make better- informed purchasing decisions. The Internet's promise of
substantial consumer benefits is, however, coupled with the potential for fraud and
deception. Fraud operators are opportunistic, and therefore they are always among the
first to appreciate the potential of a new technology. After buying a computer and
modem, scam artists can erect and maintain a Web site for $30 a month or less, and
solicit consumers anywhere on the globe. Most Internet fraud has clear antecedents in
telemarketing fraud. What is different is the size of the potential market, and the relative
ease, low cost, and speed with which a scam can be perpetrated.

The Commission believes it is important to address Internet fraud now, and in a manner
that does not discourage legitimate commercial growth by undermining consumer
confidence in the Internet as a safe mode of commerce. Toward that end, the
Commission has filed more than 140 cases against 406 defendants whose alleged illegal
practices involved the Internet. Most of the cases have involved old-fashioned scams
dressed up in high-tech garb.“ For seniors and their families surfing the Web for health
information, one area of particular concern are health-related scams; old-fashioned snake
oil salesmen also have gone online. To combat this problem, the Commission launched
Operation Cure.All in June 1999, an ongoing federal and state law enforcement and
consumer education campaign targeting false and unsubstantiated health claims on the
Internet - - focusing in particular on claims for serious diseases such as arthritis, cancer,
diabetes, heart disease, AIDS and multiple sclerosis. To date, the FTC has filed seven
Case 2:22-cv-11850-MFL-EAS ECF No. 1-13, PagelD.392 Filed 08/10/22 Page 7 of 13

actions, sent more than 800 advisory letters to Internet companies making questionable
health claims, and distributed tips to consumers on how to spot cyber health fraud and on
how to find reliable health information online.

In addition to overall Internet-related law enforcement efforts, the Commission has
developed comprehensive consumer and business education initiatives, including Surf
Days to inform entrepreneurs about online problems and "teaser" pages to warn
consumers about specific scams.

Additional Approaches to Combating Fraud
Assisting Criminal Authorities

The Commission also combats telemarketing fraud by providing substantial resources to
enforcement efforts coordinated by criminal authorities. The FTC assigned eight
attorneys to the Chattanooga, Tennessee Telemarketing Fraud Task Force in 1995.
Chattanooga had become a leading center of fraudulent telemarketing activity,
particularly prize promotion scams. The overwhelming majority of the victims of the
Chattanooga operations were elderly, The FTC attorneys were cross-designated as
Special Assistant U.S. Attorneys and brought criminal actions against telemarketers
operating in the area. By the end of 1996, the Chattanooga Task Force had obtained fifty
convictions and combined prison sentences against fraudulent telemarketers totaling over
1,695 months and restitution orders in excess of $35 million Because the defendants

targeted vulnerable victims, including the elderly, their prison sentences were
enhanced.@4

The FTC also participated in a cross-border project in Harrisburg, Pennsylvania where
staff assisted in an ongoing crackdown on fraudulent telemarketing schemes based in
Canada that targeted victims in the U.S. The defendants mainly telemarketed
investments. Since 1995, 125 defendants, including 97 Canadian nationals, have been
charged criminally, and more than $4 million has been recovered for restitution to U.S.
consumers. And in December 1998, FTC staff assisted a criminal prosecution of a
recovery room operation. Many of the approximately 850 victims, who paid defendants
more than $1.6 million, were elderly. The owner was sentenced to 63 months in jail, the
managers were sentenced to jail terms between 21 to 36 months, and the telemarketers
were sentenced from 6 months home detention to 21 months in jail 2”

The Commission assisted in the recent prosecution of perpetrators of investment schemes
based in New Hampshire, including the prosecution of a former U.S. Attorney who, in
June 2000, was sentenced to 24 months in prison. In one of these cases, the
telemarketers convinced victims to switch their existing Individual Retirement Accounts
to a worthless wireless cable investment.

In addition, the Commission participated in Operation Senior Sentinel, announced in
December 1995, which, with over 400 arrests in 14 states, was the largest criminal
crackdown ever on telemarketing fraud and focused specifically on scams targeting older
Case 2:22-cv-11850-MFL-EAS ECF No. 1-13, PagelD.393 Filed 08/10/22 Page 8 of 13

Americans. Estimates indicate that nearly 80 percent of the victims in the underlying
prize promotion and recovery room cases included in Senior Sentinel were older people.
The FTC contributed valuable consumer complaint information to Senior Sentinel and
also filed five civil cases in federal district court -- four against alleged fraudulent prize
promotions and the fifth against an alleged recovery room.

Consumer Sentinel and the Consumer Response Center

The Commission realizes that coordination and information sharing are key to effective
consumer protection law enforcement. Consumer Sentinel, a secure database developed
by the FTC and now shared with over 250 law enforcement agencies in the U.S. and
Canada, puts this concept to work. Currently containing more than 250,000 entries, the
database allows law enforcement from local sheriffs to the FBI to identify companies and
individuals engaging in fraud and to stop scams as they emerge. As the Internet makes
cross-border transactions more commonplace, we have recognized the importance of
global information sharing. Recently, the Commission entered into an agreement with
our Australian counterpart, the Australian Competition and Consumer Commission, to
share information through Sentinel, and cooperate in law enforcement efforts. The
Commission intends to continue to recruit domestic and foreign consumer protection
agencies as Sentinel partners, allowing all to use these resources efficiently and in
concert.

Much of the complaint data in the Sentinel system comes directly from consumers who
contact the agency. Consumers have toll-free access to the FTC's Consumer Response
Center through a consumer helpline. Launched in July 1999 with additional funds
appropriated by Congress, 1-877-FTC-HELP allows people from anywhere in the United
States to call with questions or complaints and speak to trained counselors. Our Web site,
www. ftc.gov, provides an online complaint form, and some complaints reach us through
postal mail. The FTC now receives more than 10,000 consumer inquiries or complaints
each week,

The agency's data collection and analysis function expanded in 1998 when Congress
enacted the Identity Theft and Assumption Act. This law empowered the FTC to collect
identity theft complaints, and refer them to law enforcement entities for prosecution. In
response, we established the Identity Theft Data Clearinghouse, a component of
Consumer Sentinel which contains consumer complaints about this rising crime. Calls to
the dedicated identity theft hotline (1-877-ID THEFT) now exceed 1,000 a week,
marking a steady increase since the hotline was launched in November 1999. Consumers
who call this line are connected to counselors who are specially trained in the intricacies
of identity theft and the credit laws. These counselors give pertinent information to
callers, assisting them to repair the damage inflicted by the identity thieves. The database
now contains close to 15,000 entries, and is available to law enforcers through the secure
Sentinel site.

Cooperative Efforts with Older Consumers
Case 2:22-cv-11850-MFL-EAS ECF No. 1-13, PagelD.394 Filed 08/10/22 Page 9 of 13

The Commission and other law enforcement agencies have taken advantage of the fact
that many older consumers are eager to help combat fraud. In an effort that began several
years ago, many older consumers, whose names had found their way onto lists used by
fraudulent telemarketers, have agreed to tape record telemarketing calls they receive or to
turn over their old telephone numbers so that undercover investigators can tape the
telemarketers’ pitches. When a law enforcement agency receives a tape of a
telemarketing sales pitch, the agency notes that a tape of the encounter is available and
shares that information with other law enforcers through a program known as the
National Tape Library. The Commission and other law enforcement agencies have used
these tapes effectively in law enforcement actions because they are often incriminating
and capture precisely the misrepresentations made by the telemarketer. Through the
Commission's Consumer Sentinel database, the index of the National Tape Library is
now accessible by means of the Internet to authorized law enforcement agencies, making
it significantly easier for consumer protection agencies to learn of and share this
incredibly valuable evidence.

In a similar effort to enlist older consumers in the fight against fraud, the Commission
has joined with other law enforcers and AARP to form a public/private strike force to
collect and review direct mail for future law enforcement purposes. Volunteers have
agreed to send suspicious or fraudulent direct mail offers to AARP, where information
about the offers will be entered into a database shared with law enforcement authorities.

Consumer Edueation

Consumer education is an effective protection against fraud. To leverage expertise and
limited resources, the FTC has developed the Partnership for Consumer Education, a
group of over 90 corporations, trade groups, consumer organizations, and federal
agencies that works with us to distribute effective consumer education materials to fight
fraud. With the assistance of our partners, the Commission has arranged for messages
about fraud to appear in such diverse locations as sales catalogs, billing statements,
classified advertising, and even on public transit buses.

It is especially important for older consumers to know their rights and learn how to assert
those rights when dealing with telemarketers. To reach out to seniors in informal settings,
the Commission's has coordinated local events with partners such as the Florida Attorney
General's Office, AARP, local BBBs. The FTC's primary focus has been on southern
states to reach retired seniors in particular. Since July 1999, the Commission has hosted
or participated in seven such events, including an Elder Fraud Conference for consumer
advocates, senior leaders and law enforcement in Florida, a consumer awareness forum
for minority seniors, and a Consumer University discussing such topics as telemarketing
fraud, identify fraud, charity fraud, door-to-door frauds, home repair, mail fraud and
Internet fraud.

The Commission's creative and plain English consumer education publications - - most
of which are available at the FTC's Web site ftc.gov ~ - provide advice and tips on a wide
range of consumer topics. The publications advise that if a consumer does not wish to
Case 2:22-cv-11850-MFL-EAS ECF No. 1-13, PagelD.395 Filed 08/10/22 Page 10 of 13

receive subsequent calls from a particular company, the consumer should ask to be
placed on the company's "do-not-call" list. The publications further advise that it is an
unlawful practice for a telemarketer to call a consumer who has indicated that he or she
does not wish to receive calls from the selling organization. The Commission's consumer
education materials also inform that the law requires telemarketers to disclose the seller's
identity and that the purpose of the call is to sell goods or services. The materials state
that consumers should be extremely wary whenever they receive a call from a
telemarketer who does not promptly disclose this information. One theme that is stressed
in the FTC's consumer education materials is that consumers should hang up on any
telemarketer who tells them that they need to send in payment to receive an award or to
participate in a prize promotion. The Commission attempts to get the message to
consumers that they do not have to pay money to enter a sweepstakes or prize contest.
Another important theme is that consumers should never divulge their credit card
numbers or checking account numbers over the phone unless they have agreed to make a
purchase and they understand the terms of the purchase. The only reason a company ever
needs a consumer's credit card or checking account number is to bill the consumer for the
purchase. Also, the Commission's consumer education materials note that whenever
possible, consumers may wish to make purchases by credit card so that they will have the
protections afforded to such transactions by federal law. If the company fails to deliver
goods or services paid for by credit card, the consumer is entitled to dispute the charge
with the organization that issued his or her credit card, which is obligated to conduct an
investigation of the consumer's complaint. Depending upon the result of that
investigation, the consumer may be eligible for a credit or refund of the purchase price.

Another important point stressed in the Commission's consumer education materials is
that consumers should be on the alert for high-pressure tactics or demands from a
telemarketer for an immediate purchasing decision. The materials also advise consumers
to consider carefully any offer, to review any written materials, and to seek out advice
from family or friends before making an expensive purchase. If consumers are interested
in reducing the number of solicitations they receive in the mail or by telephone, they may
wish to contact the Direct Marketing Association ("DMA"), a private trade association
that voluntarily maintains and supplies to its members lists of consumers who have
indicated they do not wish to receive solicitations. Not all direct marketers use the DMA
list to screen out consumers. Therefore, contacting DMA will not eliminate the receipt of
mail and telephone solicitations, but it may help reduce the volume. The DMA's address
is available via the Internet on the Commission's Web site or through the Commission's
Consumer Response Center. Consumers can contact the Federal Trade Commission or
the state Attorneys General if they lose money to a company engaged in fraud or even if
they receive a solicitation which they believe is misleading or suspicious. Although the
Commission does not intervene in individual disputes, consumer complaints provide vital
information that the Commission uses in developing its enforcement agenda and in
determining whether a particular company is engaged in a pattern of deceptive practices
or fraud, making it a suitable target for legal action.

Conclusion
Case 2:22-cv-11850-MFL-EAS ECF No. 1-13, PagelD.396 Filed 08/10/22 Page 11 of 13

The Commission's fraud program is of special interest and importance to this country's
senior citizens, because the elderly often find themselves victimized by such operations.
The Commission will remain alert to new schemes that target senior citizens and will
continue its aggressive campaign against telemarketing fraud to prevent injury to all
consumers, including the elderly.

1. The views expressed in this statement represent the views of the Commission. However, my oral
testimony and responses to questions are my own and do not necessarily reflect the Commission's views or
the views of any Commissioner.

2. 15 U.S.C. §§ 41 et seq.

3. E.g,, the Truth in Lending Act, 15 U.S.C, §§ 1601 et seq., which mandates disclosures of credit terms;
the Fair Credit Billing Act, 15 U.S.C. §§ 1666 et seq., which provides for the correction of billing errors on
credit accounts; the Fair Credit Reporting Act, 15 U.S.C. §§ 1681 et seq., which establishes rights with
respect to consumer credit reports; the Magnuson-Moss Warranty Act, 15 U.S.C. §§ 2301 et seq., which
provides disclosure standards for consumer product warranties; and the Telemarketing and Consumer
Fraud and Abuse Prevention Act, 15 U.S.C. §§ 6101-08, which authorizes the Commission to promulgate
rules defining and prohibiting deceptive telemarketing practices and other abusive telemarketing practices.

4. E.g., the Telemarketing Sales Rule, 16 C.F.R. Part 310, which defines and prohibits deceptive
telemarketing practices and other abusive telemarketing practices; the Care Labeling Rule, 16 C.F.R. Part
423, which requires the provision of care instructions for wearing apparel; the Franchise Rule, 16 C.F.R.
Part 436, which requires the provision of information to prospective franchisees; the Mail and Telephone
Order Merchandise Rule, 16 C.F.R. Part 435, which gives consumers certain rights when ordering products
through the mail; and the Funeral Rule, 16 C.F.R. Part 453, which regulates certain pricing and sales
practices by funeral providers.

5. See, Committee on Government Operations, The Scourge of Telemarketing Fraud: What Can Be Don
Against ft?, Fifteenth Report by the Committee on Government Operations (U.S. G.P.O.: 1991), at p. 7
("Various estimates place losses to consumers each year from telemarketing fraud at $3 billion to $15
billion to $40 billion and probably hundreds of millions of dollars to financial institutions.").

6. Recent survey research conducted on behalf of AARP shows that there is no ready answer explaining
why a disproportionate number of telemarketing fraud victims are elderly. The research rebuts the notion
that the elderly are vulnerable because they are socially isolated, ill-informed, or confused. The survey
shows, however, that older people who fall for telemarketing scams tend to believe the pitches they hear --
that they have a good chance of actually winning the grand prize, and that the products touted are worth the
price charged for them. Ninety percent of respondents report awareness of consumer fraud; yet two-thirds
said it is hard to spot fraud when it is happening. The survey also shows that elderly victims find it difficult
to terminate telephone conversations, even when they say they are not interested in continuing a
conversation. They are also reluctant to seek advice or assistance from others about financial matters in
general.

7.15 U.S.C. §§ 53(b) and 57b.

8. Consumer Sentinel is discussed injra at p. 14.

9, Project Prize Fighter, announced in July 2000, included 3 FTC actions and 11 criminal actions among
the 21 actions brought by the U.S. Postal Inspection Service, Attorneys General from five states, and two

local law enforcement authorities. In addition, the eight cases the Commission brought in connection with
Operation Jackpot in 1996 resulted in the defendants paying more than $556,000 in consumer redress or
Case 2:22-cv-11850-MFL-EAS ECF No. 1-13, PagelD.397 Filed 08/10/22 Page 12 of 13

disgorgement to the U.S. Treasury.

10, The Commission examined demographic data on the victims of five telefunding operations the
Commission sued in 1994 and found that out of 143 consumers interviewed, 85 percent were at least 65
years of age.

11. See FTC v, North American Charitable Services, Inc., Civil No. SACV 98- 968 LHM (EEx)(C.D. Cal.
filed Nov. 9, 1988); FTC v. Eight Point Communications, Inc., Civil No. 98-74855 (E.D, Mich. filed Nov.
10, 1998}; FTC v. Leon Saja, d/b/a Southwest Publishing, Civil No. CIV 97-0666 PHX sm (D. Ariz. filed
March 31, 1997); FTC v. The Baylis Co., Civil. No. 94-0017-S-LMB (D. Idaho filed Jan. 10, 1994); FTC
v. NCH, Inc., Civil No. CV-S-94-06138-LDG (LRL) (D. Nev. filed Feb. 14, 1994); FTC v. International
Charity Consultants, Civil No. CV-S-94-00195-DWH (LRL) (D. Nev. filed Mar. 1, 1994); FTC v. United
Holdings Group, Inc. (D. Nev. 1994); FTC v. Voices for Freedom, Civil No. 91-1542-A (E.D. Va. filed
Oct. 21, 1991).

12. A number of the Commission's cases sought injunctions against the defendants' failure to comply with
the Commission's Franchise Rule, 16 C.F.R. Part 436, which requires sellers of franchises and business
opportunities to provide prospective purchasers with disclosures covering 20 specified material topics,
including the names and addresses of current and former owners of the franchise or business opportunity.

13. In its investigation of one recovery room case, SCAT, Commission staff interviewed 43 consumers
who were allegedly victimized or approached by SCAT telemarketers. Of these individuals, 81 percent
were at least 65 years of age; 47 percent were at least 75; and 23 percent were at least 80. Similar
percentages have been found in other recovery room cases.

14. The Telemarketing Sales Rule expressly prohibits telemarketers from requesting or accepting payment
for "recovery" services until 7 business days after the promised goods, services, or cash have been
recovered and delivered to the consumer. 16 C.F.R. § 310.4(a}(3).

15. FTC v. Telecommunications Protection Agency, Inc., Civil No. CIV-96-344-5 (E.D. Okla. filed July
24, 1996); FTC v. Desert Financial Group, Inc., Civil No. CV-S-95-0151-LDG (D, Nev, filed Dec. 5,
1995); FTC v. Meridian Capital Corp., Civil No. CV-S-96-00063-PMP (D. Nev., transferred to D. Nev.
Jan. 23, 1996, originally filed in D.D.C Aug 17, 1995); FTC v. USM Corp., Civil No. CV-S-95-0668-LDG
(D. Nev. filed July 12, 1995}; FTC v. PFR, Civil No. CV-S-95- 000745-HDM (D. Nev. filed Jan. 25,
1995); FTC v. Thadow, Inc., Civil No. CV-S-95-00074-PMP (D. Nev. filed Jan. 25, 1995); FTC v. United
Consumer Services, Civil No. 1:94-CV-3164-CAM (N.D. Ga. filed Nov. 30, 1994); FTC v. Richard
Canicatti, d/b/a Refund Information Services, Civil No. CV-S-No. 94-859-HDM (D. Nev. filed Oct. 11,
1994).

16. The study, summarized in a comment submitted to the Commission that is available at
www. fic.gov/bep/rulemaking/tsr/comments/index.html, also stated that consumers age 50 and older
accounted for 38 percent of their telemarketing fraud complaints across all categories.

17. For a comprehensive overview of the Commission's Internet law enforcement activities, including a list
of cases, see Five Years: Protecting Consumers Online, available at
www. ftc.gov/opa/1999/99 1 2/fiveyearreport.htm.

18. As part of Operation Cure.Ail, in June 2000, the Commission announced a $1 million settlement with
Lane Labs USA, Inc., resolving allegations of false and unsubstantiated claims about the company's shark
cartilege and skin cream marketed to consumers as cancer treatments (FTC v. Lane Labs USA, Inc., Civil
No. CV-00-3174 (WGB) D. N.J. filed June 28, 2000). Other Cure.All cases include Michael D. Miller,
d/b/a Natural Heritage Enterprises, Docket No, C-3941 (May 16, 2000); CMO Distribution Centers of
America, Docket No. C-3942 (May 16, 2000): EHP Products, Docket No. C-3940 (May 16, 2000};
Arthritis Pain Care Center, Docket No. C-3896 (Sept. 7, 1999); Body Systems Technology, Inc., Docket
Case 2:22-cv-11850-MFL-EAS ECF No. 1-13, PagelD.398 Filed 08/10/22 Page 13 of 13

No. C-3895 (Sept. 7, 1999).

19, Knowing that many consumers use the Internet to shop for information, agency staff have developed
"teaser" sites that mimic the characteristics that make a site fraudulent. Metatags embedded in the FTC
sites make them instantly accessible to consumers who are using major search engines and indexing
services as they look for products, services, and business opportunities. Within three clicks, the "teaser"
sites link back to the FTC's site. There, consumers can find the practical information they need to learn to
recognize fraudulent claims. The agency has developed 13 such "teaser" sites on topics ranging from health
care products to scholarship services to vacation deals and investments, and feedback from the public has
been overwhelmingly positive.

20. In recognition of the FTC's contributions, the U.S. Department of Justice honored the FTC attorneys
with its John Marshall Award for inter-agency cooperation in support of litigation in 1996.

21. See 18 U.S.C. § 2236 for enhanced penalties for any telemarketer convicted of victimizing ten or more
persons over the age of 55 or targeting persons over the age of 65. The United States Sentencing
Guidelines also increase sentences for any convicted criminal that targets victims according to age. See,
USSG § 3A1.1.

22. United States v. Jeffrey Jordan et al., CR-S-96-113-LRL (D. Nev. filed 1997; subsequently transferred
to D.D.C.).

23. For a description of the case, see "Ex-Regulator Sentenced in Telermarket Fraud," The New York Times,
July 18, 2000 at C2.

24, The Consumer Sentinel complaint form does not ask for the caller's age. Identity theft callers have the
option of providing age information. About 55% of victims calling the identity theft hotline report their
age. Of these, 40% fall between the 30 and 44 years of age. Approximately 26% are between age 45 and
64, and another 25% are between age 19 and 29. About 7% of those reporting their ages are 65 and over:
and slightly over 2% are age 18 and under.
